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       In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                (E-Filed: March 24, 2014)

* * * * * * * * * * * * * *               *
OLIVIA MEYLOR,                            *      No. 10-771V
                                          *
              Petitioner,                 *      Decision on Interim Attorneys’
                                          *      Fees and Costs
v.                                        *
                                          *
SECRETARY OF HEALTH                       *
AND HUMAN SERVICES,                       *
                                          *
          Respondent.                     *
* * * * * * * * * * * * * *               *

Mark Krueger, Baraboo, WI, for Petitioner.

Lara Englund, Washington, DC, for Respondent.

                   DECISION ON INTERIM ATTORNEYS’ FEES 1

        On November 8, 2009, David and Joen Meylor, filed a petition on behalf of their
minor daughter, for compensation alleging that she suffered certain injuries as a result of
receiving a vaccination listed on the Vaccine Injury Table. Subsequently, Olivia
(Petitioner) reached the age of majority and the caption in this case was amended to
reflect the fact that she was the proper Petitioner. Petitioner sought an award under the
National Vaccine Injury Compensation Program, National Vaccine Injury Compensation
Program 2 (the Act or the Program). 42 U.S.C. §§ 300aa-1 to -34 (2006).
1
        Because this unpublished decision contains a reasoned explanation for the
undersigned’s action in this case, the undersigned intends to post this order on the United
States Court of Federal Claims website, in accordance with the E-Government Act of
2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days
within which to request redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or
(2) that includes medical files or similar files, the disclosure of which would constitute a
clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire”
order will be available to the public. Id.
2
       The National Vaccine Injury Compensation Program is set forth in Part 2 of the
National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755,
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        On February 26, 2014, Petitioner’s counsel filed a motion for interim fees (Interim
Fees Motion) requesting $96,630.00 in attorney fees, $33,803.52 in costs paid by
petitioner’s attorney, and $10,223.38 in out-of-pocket costs incurred by Petitioner, for a
total of $140,656.90 for all fees and costs incurred from September 7, 2010, until
February 6, 2014.

       In informal discussions, Respondent raised objections to Petitioner’s interim fee
application.

        On March 21, 2014, the parties filed a joint stipulation concerning interim
attorneys’ fees and costs. The parties’ stipulation requests $9,400.00 for litigation costs
incurred personally by Petitioner, and $110,500.00 for interim attorneys’ fees and costs
for a total of $119,900.00 . The parties’ stipulation does not provide the time frame
contemplated by the stipulation so the undersigned presumes that the stipulation covers
work performed and costs incurred through February 6, 2014, as this was the date
provided by Petitioner’s counsel in his original fee petition. Interim Fees Motion at 4.

       The undersigned find that an award of interim attorneys’ fees and costs is
appropriate in this case. Interim attorneys’ fees and costs are explicitly authorized by the
binding precedent of the United States Court of Appeals for the Federal Circuit. Avera v.
HHS, 515 F.3d. 1343; Shaw v. HHS, 609 F.3d 1372, 1374 (Fed. Cir. 2010) (“the Vaccine
Act permits [an] award of interim fees and costs”); Cloer v. HHS, 675 F.3d 1358, 1361-
62 (Fed. Cir. 2012) (“Congress made clear that denying interim attorneys’ fees under the
Vaccine Act is contrary to an underlying purpose of the Vaccine Act.”), aff’d, 133 S.Ct.
1886, 1896 (2013). See also Vaccine Rule 13(b).

      The request for interim attorneys’ fees and costs is hereby granted. Petitioner
is awarded reasonable interim attorneys’ fees and costs pursuant to §§ 15(b) and (e)(1),
as the undersigned finds that the petition was brought in good faith and upon a
reasonable basis, and the amount requested is reasonable and appropriate.
Accordingly, the undersigned awards the following attorneys’ fees and costs pursuant
to 42 U.S.C. § 300aa-15(b) and (e)(1):
               ●     a lump sum of $9,400.00, in the form of a check payable to
               Petitioner, representing Petitioner’s own litigation expenses in this
               case;




codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All
citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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              ●     a lump sum of $110,500.00, in the form of a check payable
              jointly to Petitioner and Petitioner’s counsel, Mark Krueger, on
              account of services performed by counsel’s law firm.
       In the absence of a timely-filed motion for review filed pursuant to Appendix
B of the Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter
judgment in accordance herewith. 3


      IT IS SO ORDERED.

                                                 s/Lisa Hamilton-Fieldman
                                                 Lisa Hamilton-Fieldman
                                                 Special Master




3
       Under Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a
joint notice renouncing the right to seek review.
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

*****************************

OLIVIA MEYLOR,                                       *
                                                     *
                              Petitioner,            *
                                                     *
v.                                                   *     No. 10-771
                                                     *     Special Master
                                                     *     Lisa Hamilton-Fieldman
SECRETARY OF HEALTH AND                              *
HUMAN SERVICES,                                      *
                                                     *
                              Respondent.            *

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     JOINT STIPULATION REGARDING INTERIM ATTORNEYS’ FEES AND COSTS

       On February 26, 2014, petitioners’ counsel filed an application for attorneys’ fees and costs

in the above-captioned matter. Pursuant to General Order #9, the application included out-of-pocket

expenses incurred by petitioner.

       In informal discussions, respondent raised objections to certain items in the application.

Based on these discussions, the petitioner has amended her application for attorneys’ fees and costs.

Petitioner now requests $110,500.00, payable to petitioner and petitioner’s counsel, Mark Krueger,

and $9,400.00, payable to petitioner, for a total of $119,900.00. Respondent does not object to

petitioner’s amended fees and costs application in the amounts specified. Petitioner understands that

the total amount represents all interim attorneys’ fees and costs available under 42 U.S.C. §300aa-

15(e)(1).




                                                 1
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       Accordingly, the parties now request that a decision awarding interim attorneys’ fees and

costs, in the amount of $119,900.00 to petitioner and petitioner’s attorney, Mark Krueger, and

$9,400.00, to petitioner, be issued.

Respectfully submitted,

/Mark Krueger                                           s/Lara A. Englund
MARK KRUEGER                                            LARA A. ENGLUND
Attorney for Petitioner                                 Trial Attorney
KRUEGER & HERNANDEZ SC                                  Torts Branch, Civil Division
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Date: March 21, 2014




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